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    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 18-1640V
                                        (not to be published)


    AZUSA NASH, As Parent and Legal
    Representative of her Minor Daughter,                       Chief Special Master Corcoran
    U.C.N.,
                      Petitioner,                               Filed: May 17, 2022
    v.
                                                                Special Processing Unit                 (SPU);
    SECRETARY OF HEALTH AND                                     Attorney’s Fees and Costs
    HUMAN SERVICES,

                         Respondent.


David Alexander Tierney, Rawls Law Group (Richmond), Richmond, VA, for Petitioner.

Colleen Clemons Hartley, U.S. Department of Justice, Washington, DC, for
Respondent.

                       DECISION ON ATTORNEY’S FEES AND COSTS 1

      On October 24, 2018, Azusa Nash filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq. 2 (the
“Vaccine Act”). Petitioner alleges that her minor daughter, U.C.N. suffered immune
thrombocytopenic purpura as a result of her February 16, 2016, Measles Mumps Rubella
vaccination. (Petition at 1). On January 20, 2022, a decision was issued awarding
compensation to Petitioner based on the parties’ stipulation. (ECF No. 55).

1  Because this unpublished Decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the Decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.

2
  National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa
(2012).
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       Petitioner has now filed a motion for attorney’s fees and costs, dated April 4, 2022,
(ECF No. 60), requesting a total award of $51,971.44 (representing $38,589.45 in fees
and $13,381.99 in costs). In accordance with General Order No. 9, Petitioner filed a
signed statement indicating that Petitioner incurred out-of-pocket expenses in the amount
of $5,624.00. (ECF No. 60-4). Respondent reacted to the motion on April 5, 2022,
indicating that he is satisfied the statutory requirements for an award of attorneys’ fees
and costs are met in this case, deferring resolution of the amount to be awarded at the
Court’s discretion. (ECF No. 61). Petitioner did not file a reply thereafter.

      I have reviewed the billing records submitted with Petitioner’s request. In my
experience, the request appears reasonable, and I find no cause to reduce the requested
hours or rates.

       The Vaccine Act permits an award of reasonable attorney’s fees and costs. Section
15(e). Accordingly, petitioner is awarded the total amount of $57,595.44 3 as follows:

            •    A lump sum of $51,971.44, representing reimbursement for fees and
                 costs, in the form of a check payable jointly to Petitioner and
                 Petitioner’s counsel and;

            •    A lump sum of $5,624.00, representing reimbursement for Petitioner’s
                 costs, in the form of a check payable to Petitioner.

      In the absence of a timely-filed motion for review (see Appendix B to the Rules of
the Court), the Clerk shall enter judgment in accordance with this decision. 4

IT IS SO ORDERED.

                                                         s/Brian H. Corcoran
                                                         Brian H. Corcoran
                                                         Chief Special Master



3 This amount is intended to cover all legal expenses incurred in this matter. This award encompasses all

charges by the attorney against a client, “advanced costs” as well as fees for legal services rendered.
Furthermore, § 15(e)(3) prevents an attorney from charging or collecting fees (including costs) that would
be in addition to the amount awarded herein. See generally Beck v. Sec’y of Health & Human Servs.,
924 F.2d 1029 (Fed. Cir.1991).
4 Pursuant to Vaccine Rule 11(a), the parties may expedite entry of judgment by filing a joint notice
renouncing their right to seek review.
                                                    2
